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                       EXHIBIT A
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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

 Civil Action No.: 1:14-cv-02887-JLK

 ALEJANDRO MENOCAL,
 et al.,

 Plaintiffs,

v.

 THE GEO GROUP, INC.,

         Defendant.


                      AMENDED STIPULATED PROTECTIVE ORDER
                      CONCERNING CONFIDENTIAL INFORMATION




         IT IS HEREBY STIPULATED by and between the parties, through their respective

 counsel, that:

        i.        The parties have requested for use in this action certain documents that may contain

information that the U.S. Department of Homeland Security, Immigration and Customs Enforcement

(“ICE”), a nonparty agency of the federal Executive Branch, states that it must protect pursuant to

law, regulation, and/or policy.

        ii.       Documents containing information covered by the Privacy Act of 1974, 5 U.S.C. §

552a, or that contain information that is law enforcement sensitive are protected from disclosure.

Such information has been identified by the United States (hereinafter “Government”) as sensitive

and/or confidential.     Non-public law enforcement information regarding Government policies,

methods, techniques, procedures, guidelines and intelligence is to be treated as “law enforcement

sensitive.”    The parties acknowledge and agree, for purposes of this litigation only, and in order to

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ensure that the parties have access to documents and other information necessary to the prosecution

and defense of their claims, a desire to protect against any risk of circumvention of law that might

result from disclosure of sensitive and confidential law enforcement information as described in this

Order.

         iii.   The parties desire, where appropriate, to maintain the confidentiality of certain of

 the documents produced in this case, including to protect the privacy of individuals;

         iv.    Therefore, in order to protect against the disclosure of sensitive and confidential

 information, which includes, but is not limited to, Privacy Act-protected and law enforcement

 sensitive, investigatory, and official Government information, while at the same time, observing

 the requirements of Rule 26 of the Federal Rules of Civil Procedure, and to permit the parties to

 discover and, if otherwise admissible, make reasonable use at trial and other matters in this

 litigation information relevant to the subject matter of this case, the parties, by and through their

 respective counsel, hereby stipulate to the entry of this Protective Order and agree as follows, and

 respectfully request that the Court so order:


                                                 ORDER

         1.      This Protective Order applies to all documents, materials, and information (and

 information copied, extracted, excerpted from, as well as summaries or compilations of the

 foregoing), including without limitation, documents produced, answers to interrogatories,

 responses to requests for admission, deposition testimony, presentations or conversations by parties

 or their counsel, and other information disclosed pursuant to the disclosure or discovery duties

 created by the Federal Rules of Civil Procedure.

         2.      As used in this Protective Order, the term “document” has the meaning set forth in

 Fed.R.Civ.P. 34(a). A draft or non-identical copy is a separate document within the meaning of

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 this term.

         3.      Documents designated “Confidential” means the information shall be used solely

 for the purposes of this litigation, and shall not be used for any other purpose or suit, nor published

 to the general public in any form (other than described herein), or used for any business or

 commercial purpose.

         4.      Any party may, at any time, designate a served, disclosed, or filed document

 “Confidential” if, after review by an attorney, the attorney certifies that the designation as

 “Confidential” is based on a good faith belief that the document contains nonpublic personal,

 personally identifiable information (“PII”), personnel, employment, financial and/or tax records,

 medical, “sensitive information” as defined at 48 C.F.R. § 3052.204-71, “law enforcement

 sensitive” information (as defined supra at ii), investigatory, official Government information or

 other information implicating privacy or proprietary interests of the Plaintiffs, the Defendant, ICE

 or another nonparty (including any documents and information that are subject to the Privacy Act

 of 1974, 5 U.S.C. § 552a). This Protective Order is an order of the Court pursuant to 5 U.S.C. §

 552a(b)(11) that allows for the disclosure of documents or information whose disclosure would

 otherwise be prohibited by the Privacy Act of 1974.             Such information shall be marked

 confidential. The documents so designated will be deemed “Confidential Material” subject to this

 Protective Order. Any Confidential designation that is inadvertently omitted following the entry

 of this Protective Order will not constitute a waiver of confidentiality, and may be corrected by

 written notification to the parties.

         5.      Any party may, at any time, designate a served, disclosed, or filed document

 “Highly Confidential – Attorneys’ Eyes Only” if, after review by an attorney, the attorney certifies

 that the designation as “Highly Confidential – Attorneys’ Eyes Only” is based on a good faith

 belief that the document contains:
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         (a)     Highly sensitive information, the disclosure of which could result in compromise

                 of the safety or security of GEO facilities and/or harm or retaliation to individuals;

                 or

         (b)     Other highly sensitive information requiring such protection.

 The documents so designated will be deemed “Highly Confidential Material” subject to this

 Protective Order. Any Highly Confidential designation that is inadvertently omitted following the

 entry of this Protective Order will not constitute a waiver of confidentiality, and may be corrected

 by written notification to the parties.

        6.       No copies of “Confidential” or “Highly Confidential” Material shall be made except

 to the extent necessary for the litigation of this action and the parties preparation of this action for

 trial (including any appeals).

        7.       “Confidential” information shall be handled as follows:

                 (a)     Information designated as “Confidential” shall not be disclosed to the public

                 in any form by the receiving party or its respective counsel, nor disclosed to any

                 other person or entity without Order of the Court.

                 (b)     Information designated as “Confidential” may be disclosed by the receiving

                 party or its respective counsel only to the following persons: (1) the parties to the

                 action whose counsel have executed this Protective Order on their behalf, including

                 any officers, managers, directors, or in-house counsel of such parties, or any

                 designated representatives who are authorized to act on the parties’ behalf,

                 including insurers, or who may be reasonably necessary to aid counsel in this

                 action; (2) counsel of record for the parties and such counsel’s regular and

                 temporary employees, including, but not limited to, legal assistants, paralegals and

                 clerical or other support staff if the disclosure is reasonably and in good faith
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            calculated to aid in the preparation or prosecution of this specific legal action and

            no other; (3) the Court and its personnel; (4) court reporters who record depositions

            or other testimony in this case; (5) experts or independent consultants (and their

            staff) retained by attorneys for the receiving party to whom disclosure is reasonably

            necessary for this Action; (6) deponents, witnesses, or potential witnesses at any

            deposition in this action; (7) consultants not in the regular employ of the parties that

            are needed to assist counsel of record in the litigation or trial of this action; (8)

            witnesses expected to testify at trial; (9) the author or recipient of a document

            containing the information or a custodian or other person who otherwise

            possessed or knew the information; and (10) any other person to whom the party

            who originally designated the material as confidential agrees in writing.

      8.    “Highly Confidential” information shall be handled as follows:

      (a)   Information designated as “Highly Confidential – Attorneys’ Eyes Only” shall not

            be disclosed by the receiving party’s outside counsel of record to the public or

            the receiving party, nor disclosed to any other person or entity without Order of

            the Court.

      (b)   Unless otherwise ordered by the Court or permitted in writing by the designating

            party, the receiving party’s outside counsel of record may disclose any information

            or item designated “HIGHLY CONFIDENTIAL – ATTORNEY EYES’ ONLY”

            only to: (1) the receiving party’s outside counsel of record’s employees and any

            legal, investigative, technical, administrative, and other support staff of said outside

            counsel of record to whom it is reasonably necessary to disclose the information for

            this Action; (2) experts or independent consultants (and their staff) retained by

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               attorneys for the receiving party to whom disclosure is reasonably necessary for

               this Action; (3) the court and its personnel; and (4) court reporters and their staff.

        (c)    Unless otherwise ordered by the Court or permitted in writing by the designating

               party, the receiving party’s outside counsel of record may discuss or show any

               information or item designated “HIGHLY CONFIDENTIAL – ATTORNEY

               EYES’ ONLY” to the specific detainee to whom the document pertains, only if

               such disclosure is necessary for the purposes of this litigation, or if the specific

               detainee authored, originated, received, or otherwise possesses the information.

               Such discussion or showing of the relevant document(s) shall not include providing

               the detainee with copies.

        (d)    Pages of transcribed deposition testimony or exhibits to depositions that reveal

               Highly Confidential Material and are designated as such pursuant to paragraph 13

               of this Order may be separately bound by the court reporter and may not be

               disclosed to anyone except as permitted under this Stipulated Protective Order.

        9.     For any disclosures under Paragraph 7(b)(4-10) and Paragraph 8(b)(2 & 4), the

 person to whom the Confidential Material or Highly Confidential Material is being disclosed must

 first, before viewing the information, review a copy of this Protective Order and counsel shall

 obtain agreement, in writing, from such person that he or she will be bound by its provisions, as

 follows:

               I,        , declare that I have read and understand the terms of this Amended

               Stipulated Protective Order Concerning Production of Confidential Information

               ( “ Order”) issued by the United States District Cour t for the District of Colorado

               ( “ Cour t ”) on November __, 2018 in the case of Menocal et al. v. The GEO


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                    Group, Inc. I understand that this Order remains in effect during and after

                    conclusion of this litigation, and I agree to be bound by it. I understand that I may

                    be subject to penalties for contempt of Court if I violate this Order.

                    Printed Name: _______________________________
                    Signature: _______________________________
                    Dated:

         10.        This Protective Order does not prohibit or restrain the disclosure of information

 between the parties for the performance of the tasks necessary to conduct discovery or prepare for

 trial. Rather, this Protective Order is designed to prevent the unwarranted disclosure of

 Confidential and Highly Confidential Material to nonparties, the general public or use outside of

 this litigation.

         11.        No documents containing Confidential or Highly Confidential Material may be

 reproduced except as necessary in the litigation of this action. Any copy of a document containing

 or   summarizing        Confidential    or   Highly       Confidential   Material   must    be   stamped

 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”                                     The

 inadvertent, unintentional, or in camera disclosure of Confidential or Highly Confidential Material

 will not, under any circumstances, be deemed a waiver, in whole or in part, of any claims of

 confidentiality.

         12.        Counsel must advise, instruct, and supervise their associates, staff, and employees

 to preserve the confidentiality of Confidential and Highly Confidential Material. Counsel must

 also advise their clients about the requirements of this Protective Order.

         13.        Documents are designated as Confidential or Highly Confidential Material by

 placing or affixing on them (in a manner that will not interfere with their legibility) the following

 or other appropriate notice: “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEY


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 EYES’ ONLY” to each page that contains confidential material. With respect to documents

 containing Confidential or Highly Confidential Material produced in Native Format, the

 designating party shall include the appropriate confidentiality designation in the filename. With

 respect to all documents produced that contain Confidential or Highly Confidential Material, the

 designating party will also include in the Load File the appropriate confidentially designation. If

 only a portion or portions of the information or item warrant protection, the producing party, to the

 extent practicable, shall identify the protected portion(s).

         14.     Whenever deposition testimony involves the disclosure of Confidential or Highly

 Confidential Material, the testimony should be identified on the record as Confidential or

 Highly Confidential wherever possible. A party may later designate portions of depositions as

 Confidential or Highly Confidential after transcription, provided written notice of the designation

 is promptly given to all counsel of record within thirty (30) days after the court reporter has notified

 counsel that the deposition transcript has been completed. Those portions of the original transcripts

 that contain Confidential or Highly Confidential Material shall bear the legend “CONFIDENTIAL

 – SUBJECT TO PROTECTIVE ORDER,” or “HIGHLY CONFIDENTIAL – ATTORNEY

 EYES’ ONLY – SUBJECT TO PROTECTIVE ORDER” at the beginning of the text which has

 been designated Confidential or Highly Confidential and the cover page of the transcripts that

 contain Confidential Material shall bear the legend “CONTAINS CONFIDENTIAL PORTIONS.”

         15.     A party may object to the designation of a document as Confidential or Highly

 Confidential Material by giving written notice to the designating party. The written notice must

 identify the information to which objection is made. If the parties cannot resolve the objection

 within ten (10) business days after notice is received, the designating party may file an appropriate

 motion seeking a ruling from the Court whether the disputed information should be deemed

 Confidential or Highly Confidential Material. The disputed information must be treated as
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 Confidential Material or Highly Confidential until the Court rules on the motion, a motion on

 which the designating party will bear the burden of establishing good cause to treat the information

 as Confidential or Highly Confidential. If the designating party fails to timely file such a motion,

 the disputed information will lose its designation as Confidential or Highly Confidential Material.

        16.     The obligation to preserve the confidentiality of Confidential or Highly

 Confidential Material survives the termination of this action. The Court will retain continuing

 jurisdiction to enforce the terms of this Protective Order.

        17.     Should the parties desire to submit to the Court any Confidential or Highly

 Confidential Material (whether in a discovery dispute, on the merits, or otherwise), the filing

 party must promptly advise the designating party and ICE (if the parties reasonably believe

 that the documents contain ICE information or are ICE documents and ICE would be of the

 position that the documents should be filed under seal) of the intended filing and whether

 the designating party or ICE will waive the designation. Any party who wishes to advise

 ICE of such intended submission shall contact the DOJ Liaison (presently Assistant U.S.

 Attorney Timothy Jafek), in writing, regarding the proposed submission. The designating

 party will advise the requesting party whether it will waive the designation within two (2)

 business days of the requesting party’s request, or within such other time as agreed to by

 the parties. If the designating party will not waive the designation, and the filing party still

 wishing to use the Confidential or Highly Confidential Material in a court filing, the filing

 party must file the material as restricted, and the designating party, ICE or any other interested

 party may file a motion to restrict, in accordance with D.C.COLO.LCivR 7.2 or any other rules

 promulgated by the United States District Court for the District of Colorado in effect at the time

 the documents are filed.

        18.     This Protective Order supersedes the prior Protective Order (Dkt. 45).           The
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 provisions of this Protective Order shall apply to any Confidential Material so designated under

 the prior Protective Order (Dkt. 45) or Highly Confidential Material so designated by any party to

 this Protective Order before entry of this Protective Order.

        19.     If a party desires to use another party’s Confidential or Highly Confidential

 Material at trial or at any hearing in open court, the submitting party shall meet and confer with

 the designating party, and (if the parties reasonably believe that the documents contain ICE

 information or are ICE documents and ICE would be of the position that the documents

 should be filed under seal), the submitting party shall follow the procedures outlined in

 paragraph 17 of this Order with respect to advising ICE. If the producing party or ICE declines to

 waive the designation, the producing party or ICE or any other interested party shall move for an

 order that such evidence be received in camera or under other less public circumstances to prevent

 unnecessary disclosure.

        20.     If any nonparty shall be called upon, by subpoena or otherwise, to provide or

 produce documents or information considered confidential by such nonparty, such nonparty will

 be provided with a copy of this agreement and may invoke its terms with respect to any

 Confidential or Highly Confidential Material provided to the parties. If any Confidential or Highly

 Confidential Material is produced by a party other than a party to this agreement, such party shall

 be considered a designating party and all parties to this order should be treated as receiving parties.

 Nothing herein shall be construed to restrict the ability of a nonparty from objecting to disclosure

 of information within its possession, custody, and control pursuant to any applicable federal or

 state law or regulation or on a basis of privilege. Nothing contained herein prohibits a party from

 negotiating a separate protective order with any nonparty, provided that all parties to this litigation

 are included in the negotiation of such agreement and ultimately agree to the terms of such

 agreement, and the Party to this litigation seeking the separate protective order moves the Court
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 for such order. Furthermore, nothing contained herein prohibits a nonparty from seeking a separate

 protective order or other relief from the Court.

        21.     Nothing contained herein shall be construed to restrict disclosure and use by the

 receiving party of any documents, information, or things that become publicly available through

 no fault or wrongdoing of any receiving party even if those documents, information, or things are

 also designated Confidential or Highly Confidential Material; however the specific documents,

 information, or things designated Confidential or Highly Confidential shall continue to be treated

 as such under the provisions of this Protective Order unless otherwise agreed to by the parties and,

 if applicable, the Government.

        22.     Unless prohibited by law, upon termination of this litigation, within sixty (60)

 calendar days after the termination of this action, including all appeals, each receiving party shall

 return the originals and all copies, extracts, and summaries of Confidential and Highly Confidential

 Material to the designating party, or shall certify to the designating party that they have deleted or

 destroyed the same in a manner that is agreeable to the designating party. Notwithstanding this

 provision, counsel are entitled to retain one (1) archival copy of all documents filed with the court,

 trial, deposition, and hearing transcripts, correspondence, deposition and trial exhibits, expert

 reports, attorney work product, and consultant and expert work product, even if such materials

 contain Confidential or Highly Confidential Material. Counsel also shall not be required to delete

 information that may reside on their respective parties’ firms’ or vendors’ electronic disaster

 recovery systems that are overwritten in the normal course of business, or information that may

 reside in electronic files which are not reasonably accessible. Should counsel know or have reason

 to know that Confidential or Highly Confidential Material is to be restored from parties’ firms’ or

 vendors’ electronic disaster recovery systems or other locations not reasonably accessible, counsel

 will make reasonable efforts to destroy these materials in good faith.
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        23.     If a party is served with a subpoena, service of process, or a court order issued in

 other litigation that compels disclosure of any information or items designated in this action as

 “Confidential” or “Highly Confidential,” that party must:

                        (a)   Promptly notify the designating party in writing and include a copy of

                the subpoena or court order;

                        (b)   Promptly notify in writing the party who caused the subpoena or order

                to issue in the other litigation that some or all of the material covered by the subpoena

                or order is subject to this agreement. Such notification shall include a copy of this

                agreement;

                        (c)   Cooperate with respect to all reasonable procedures sought to be

                pursued by the designating party whose Confidential or Highly Confidential Material

                may be affected.

       Once notified, the designating party (or nonparty) seeking to maintain the confidentiality of

any information shall have the sole responsibility for obtaining any order it believes necessary to

prevent disclosure of the information that has been subpoenaed, requested, or ordered.              The

subpoenaed party will not produce any of the Confidential or Highly Confidential Material while a

motion for a protective order brought by the designating party pursuant to this paragraph is pending,

or while an appeal from or request for appellate review of such motion is pending, unless a court

orders production of materials that are subject to this agreement, then production of such materials

pursuant to that Court Order shall not be deemed a violation of this agreement.

        24.     Neither the agreement of the parties with respect to Confidential or Highly

 Confidential Material, nor the designation of any information, document, or the like, as Confidential

 or Highly Confidential Material, nor the failure to make such designation shall be construed as:

                        (a)   Evidence with respect to any issue on the merits in this action;
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                       (b)    Waiving or restraining a party or nonparty from using or disclosing its

                own Confidential or Highly Confidential Material as it deems appropriate;

                       (c)    Waiving a party’s right to object to any disclosure of Confidential or

                Highly Confidential Material or production of any documents it deems to contain

                Confidential or Highly Confidential on any ground other than confidentiality that it

                may deem appropriate;

                       (d)    Waiving a party’s right to redact from any documents, whether

                designated “Confidential” or “Highly Confidential” or not, any information

                containing privileged material or any other data protected from disclosure by state

                or federal law;

                       (e)    Conceding that review of documents is unnecessary or that a producing

                party need not cull non-responsive, irrelevant, or other documents before producing

                to the relevant party.

        25.     This Protective Order may be modified by the Court at any time for good cause

 shown following notice to all parties and an opportunity for them to be heard.

        26.     The parties agree that all documents produced subject to this Protective Order and

 any prior protective order entered in this case shall be protected in accordance with the data

 security requirements of Section 11 of the ESI Protocol (Dkt. 109). The parties shall follow the

 data security mandates of Section 11 of the ESI Protocol (Dkt. 109) for any documents that do not

 qualify as ESI, and shall safeguard those materials accordingly.

        27.     Nothing in this Protective Order will prevent any party or nonparty from seeking

 modification of this order or from objecting to discovery that the party or nonparty believes to be

 improper. Nothing in this Protective Order will prejudice the right of any party or nonparty to

 contest the alleged relevancy, admissibility, or discoverability of confidential documents or
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 information sought.

        DATED this 20th day of November 2018.

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Class Counsel


By:




SO ORDERED:


______________________________                  Date: _______________
The Honorable John L. Kane
Senior U.S. District Court Judge




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